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RELEASE AND SE'I`TLEMENT AGREEMENT

This Release and Settlement Agreement is made and entered into by Ryan I-Ienson
(hereinafter “Plaintiff”) and Meehan of Augusta, Inc., and Mark Hutchison d/b/a Paui
Davis Restoration of Augusta/Aiken (hereinafter “Det`endants”).

RECITALS

WHEREAS, Plaintii’f was previously employed by Defendants Mark Hutchison
dfb/a Paul Davis Restoration of Augasta!Ail<en and/or Meehan of Augusta, Inc. from
April, 2010 to May, 2011 as Mitigation Manager;

WHEREAS, Plaintifi` filed suit against Defendants in the Civil Court of
Richmond Connty under the Fair Labor Standards Act for unpaid compensatory time
following his resignation from his employment by Defendants; -

WHEREAS, said suit was removed the United States Distz'ict Court for the _
Sonthénn Distriot of Ceorgia, Augusta Division,

WHEREA£,` i’l'aintiff and Defendants maintain that a bona fide dispute exists
regarding whether Defendants owe alleged compensatory time attained by Plaintiii`; and

WHEREAS, Plaintiff and Defendants wish to compromise and settle all claims
related to the referenced dispute.

NOW, THEREFORE, in order to effect a full, final, and complete settlement
and satisfaction of any claims that the parties may have against one another, Plaintifi` and
Defendants execute this R.elease and Settlement Agreement and hereby agrees as foliows:

l. Defendant’s Obligations. In consideration of Plaintifi’s release of his
claim for unpaid compensatory time, Defendants will pay the gross amount of $4,500.00

to Plaintift`, less applicable tax withholdings The payment will be due within fourteen

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days of judicial approval of this agreement This settlement amount represents the
following compensation for unpaid compensatory time:
a. $1,500.00 for 115 hours of alleged compensatory hours compiled during
the Plaintiff’s employment;
b. $1,500.00 in liquidated damages; and
c. $l,SOO in reasonable attorney’s fees.

2. Plaintiff’s Obligations. Plaintit’f agrees that in connection with this
agreement, he will file in the United States District Court for the Southern District of
Georgia, Augusta Division, a Stipulation of Dismissal and Motion for Judicial Approval
and voluntary dismissal with prejudice as to the claims under the FLSA. Piaintiff hereby
acknowleng that the agreement to voluntary dismiss the above referenced matter is
material to Defendants’ decision to resolve and settle the subject matter of this Release
and Settiement Agreement.

3. Release and Discharge by Plaintiff. Upon payment of consideration,
Plaintiff agrees to fully and finally unconditionally release, acquit, and discharge
Defendants from any and all past, present, or nature claims, demands, obligations,
actions, damages, causes of action, losses, and costs, and all liability now accrued or
hereafter to accrue, known or unknown, which may exist or arise against Defendants for
any matters related to his employment with Defendants.

4. GeneraLi§y of Release. Plaintiff acknowledges and agrees that this is a
general release, and expressly waives and assumes the risk of any and all claims which
exist as of this date but which he does not know of, or suspect to exist, whether through

ignorance, oversight, error, negligence, or otherwise, and which, if known, would

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materially affect the decision to enter into this agreement The Plaintiff further agrees
that he has accepted the terms of this agreement as a complete, tinal, and full compromise
of matters involving disputed issues of law and fact, and that he fully assumes the risk
that the facts or law may be otherwise than he now believes

5. \'_Va_ga_lr_\tv of Canacitv to Execute Agreement. The Plaintiff, by his
signature, represents and warrants that he is of legal age; that he is suffering under no
mental disability; that he is not under the influence of any drugs or other substances
which would affect judgment, reason, or understanding and that he has not sold,
assigned, transferred, conveyed, or otherwise disposed of any of the claims, demands,
obligations, or causes of action referred to in this agreementl

6. Disclaimer of Liabili_ty. The Plaintiff agrees and acknowledges that he
accepts the consideration specified in this agreement as a full and complete compromise

of matters involving disputed issues.

7 . Ent_]‘;e Agreement and Successors-In-Interest. This agreement contains

the entire agreement between the parties hereto and shall be binding upon and inure to the
benefit of the executors, administrators, personal representatives heirs, successors, and
assigns of each. Ail agreements and understandings between the parties hereto are
embodied and expressed herein; the terms of this agreement are contractual and not mere
recitals; and no modification of this agreement shall be effective

8. Construction by Georgia Law and U.S. Law. This agreement is entered
into in the State of Georgia and shall be construed, interpreted, and enforced in

accordance with its law and the law of the United States.

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9. Representation of Comprehension of Document, In entering into this

agreement, the plaintiff represents that the terms of this Release have been completely
read by him. The Plaintiff further represents that the terms of this release are fully
understood and voluntarily accepted by him.

10. Caption . The captions preceding the paragraphs of this Release are for
reference purposes only and shall not be construed to limit, modify, or expand the actual
provisions contained in this agreement

ll. Recitals. T he Recitals in this agreement are true and correct and are, by

this reference, made a part of this agreement

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SIGNATURE PAGE

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Ryan Henson,

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l/Stanley C. Hous{a
Attorney for Plaintiff
Stanley C. House, LLC
P.O. Box 915
Augusta, GA 30903-0915
Ga. Bar #: 369150
'I`elephone: 706-722~3341
E-mail: schouse@schouse.com

 

DEFENDANTS

 

Mark Hutchi§`ond!b/a Paul Davis
Restoration of AugustafAiken,

 

 

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Mark Hurch‘isdn, CEo `
Meehan of Aligusta, Inc. .,
Def`endant

daniel

paula w. namnam

Shepard, Plunkett, Hamilton &
Boudreaux, LLP

Attorney for Defendants

429 Walker Street, Upper Level

Augusta, Georgia, 30901

Georgia Bar No. 320855

Telephone: 706-722-6200

E-mail: dbamilton@shepardplunkett.com

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Date

 

